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                                         300 Filed 12/02/21 Page 1 of 3


1
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5    Attorney for Rushard Burton

6                              UNITED STATES DISTRICT COURT
7
                                         DISTRICT OF NEVADA
8
9    UNITED STATES OF AMERICA
                                                          Case No.: 2:17-CR-00221-JAD-EJY
10                          Plaintiff,
                                                          STIPULATION AND ORDER TO
11      vs.
                                                          CONTINUE SENTENCING (First
     RUSHARD BURTON,                                      Request)
12
13                          Defendant.
14
15            IT IS HEREBY STIPULATED AND AGREED, by and between the United States of

16   America, Christopher Burton, Assistant United States Attorney, together with Ben Nadig,

17   counsel for defendant Rushard Burton, that the sentencing in the above-captioned matter
18   currently scheduled for Monday, December 6, 2021, at the hour of 2:00 p.m., be vacated and set
19
     to a date and time convenient to this Court, but no sooner than 30 days from the current
20
     sentencing date.
21
              This stipulation is entered into for the following reasons:
22
23            1. The Defendant is in custody and does not object to the continuance.

24            2. Undersigned counsel needs additional time to prepare for Defendant’s sentencing.

25            3. The additional time requested herein is not sought for the purposes of delay. But
26               merely to allow counsel for Defendant sufficient time within which to be able to
27
                 effectively and complete the sentencing analysis and memorandum.
28
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1
           4. The parties agree to the continuance.
2
3          5. Additionally, denial of this request for continuance could result in a miscarriage of

4                 justice.

5          6. The additional time requested by this Stipulation is made in good faith and not for the
6                 purposes of delay.
7
                      This is the first request for continuance filed herein.
8
                      DATED this 2nd day of December, 2021.
9
10
11          /s/                                                                 /s/
12   BEN NADIG                                                       Christopher Burton
     Counsel for Defendant                                           Assistant United States Attorney
13   Rushard Burton

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1
2                             UNITED STATES DISTRICT COURT

3                                       DISTRICT OF NEVADA
4
     UNITED STATES OF AMERICA
5                                                         Case No.: 2:17-cr-00221-JAD-EJY
                           Plaintiff,
6                                                         ORDER
        vs.
7
     RUSHARD BURTON,
8
                           Defendant.
9
10
11
              The ends of justice served by granting said continuance outweigh the best interest of the
12
     pubic and the defendant in a speedy sentencing, since the failure to grant said continuance would
13
14   be likely to result in a miscarriage of justice, would deny the parties here in sufficient time and

15   the opportunity within which to be able to effectively and thoroughly prepare for sentencing,

16   taking into account the exercise of due diligence.
17            IT IS THEREFORE ORDERED that sentencing in the above-captioned matter
18
     currently scheduled for December 6, 2021 at 2:00 p.m., be vacated and continued to January 24,
19
     2022, at 2:00 p.m.
20
21
22               DATED this 2nd day of December, 2021.

23                                                  _______________________________________
24                                                  UNITED STATES DISTRICT JUDGE
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26
27
28
